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   AGENGE FRANCE-PRESSE
 6
 7                         UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA
 8
   AGENCE FRANCE-PRESSE                  Case No. ____________________
 9
                            Plaintiff,   COMPLAINT FOR DAMAGES AND
10                                       INJUNCTIVE RELIEF
   v.
11                                       (1) COPYRIGHT INFRINGEMENT
   GREGORY DOWBAK; WESLEY
12 ROZHNOV; EZ CARE MEDICAL
   CLINIC, INC.; SPARTACUS
13 MANAGEMENT GROUP, INC.; MMJ DEMAND FOR BENCH TRIAL
   DOCTOR MEDIACAL CLINIC INC.
14 d/b/a www.mmjdoctor.com; and DOES 1
   through 10 inclusive,
15
                            Defendant.
16
17
18          Plaintiff, Agence France Presse alleges as follows:

19                              JURISDICTION AND VENUE

20          1.     This is a civil action seeking damages and injunction relief for

21 copyright infringement under the Copyright Act of the United States, 17 U.S.C. §
22 101 et seq.
23          2.     This Court has subject matter jurisdiction over Plaintiff’s claims for

24 copyright infringement pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1338(a).
25        3.     This Court has personal jurisdiction over Defendant because Defendant

26 conducts business and/or resides within this judicial district, Defendant’s acts of
27 infringement complained of herein occurred in this judicial district, and Defendant
28 caused injury to Plaintiff within this judicial district.

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                                                 1                    And Injunctive Relief
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 1          4.     Venue in this judicial district is proper under 28 U.S.C. § 1391(c) and
 2 1400(a) in that this is the judicial district in which a substantial part of the acts and
 3 omissions giving rise to the claims occurred. Alternatively, venue is also proper
 4 pursuant to 28 U.S.C. § 1400(b) because the Defendant resides and has a regular and
 5 established place of business in this judicial district.
 6                                         PARTIES
 7          5.     Plaintiff Agence France-Presse (“AFP”) is a French entity with a based
 8 in Paris, France, but with it North American headquarters located in Washington,
 9 D.C.
10          6.     Defendant Gregory Dowbak is an individual doing business in San
11 Francisco, CA.
12          7.     Defendant Wesley Rozhnov is an individual doing business in San
13 Francisco, CA.
14          8.     Defendant EZ Care Medical Clinic Inc. is a California corporation
15 located at 1884 Market Street, San Francisco, CA 94102.
16          9.     Defendant MMJ Doctor Medical Clinic Inc., is a corporation of
17 unknown origin located at 1884 Market Street, San Francisco, CA 94102.
18          10.    Defendant Spartacus Management Group Inc. is a corporation located
19 at 88 South 3rd Street, Suite 127, San Jose, CA 95113.
20          11.    Plaintiff is unaware of the true names and capacities of the Defendants
21 sued herein as DOES 1 through 10, inclusive, and for that reason, sues such
22 Defendants under such fictitious names. Plaintiff is informed and believes and on that
23 basis alleges that such fictitiously named Defendants are responsible in some manner
24 for the occurrences herein alleged, and that Plaintiff’s damages as herein alleged
25 were proximately caused by the conduct of said Defendants. Plaintiff will seek to
26 amend the complaint when the names and capacities of such fictitiously named
27 Defendants are ascertained. As alleged herein, “Defendant” shall mean all named
28 Defendants and all fictitiously named Defendants.

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 1         12.   For the purposes of this Complaint, unless otherwise indicated,
 2 “Defendant” includes all agents, employees, officers, members, directors, heirs,
 3 successors, assigns, principals, trustees, sureties, subrogates, representatives and
 4 insurers of the Defendants named in this caption.
 5                             FACTUAL ALLEGATIONS
 6         13.   Agence France-Presse (“AFP”) is a global news agency delivering fast
 7 coverage, accurate, in video, text, photographs, multimedia and graphics of the
 8 events that make international news.
 9         14.   Founded in 1835 in Paris, France, AFP is the oldest and third largest
10 news agency in the world.
11         15.   AFP has bureaus in over 150 countries, and has its North American
12 headquarters in Washington, D.C.
13         16.   AFP disseminates approximately 5,000 news stories and approximately
14 3,000 photographs per day to its subscribers.
15         17.   AFP also makes its photographs available for license through Getty
16 Images.
17         18.   AFP is the exclusive rights holder to a photograph of then Senator Jeff
18 Sessions, R-AL, arriving to testify at his confirmation hearing before the United
19 States Senate Judiciary Committee after being nominated to the office of Attorney
20 General (“Image”).
21         19.   Attached hereto as Exhibit A is a true and correct copy of the Image.
22         20.   AFP first published the Image in France.
23         21.   On information and belief Defendants Gregory Dowbak, Wesley
24 Rozhnov, EZ Care Medical Clinic Inc., MMJ Doctor Medical Clinic Inc., and
25 Spartacus Management Group Inc. (“Defendants”) own and operate the website
26 www.mmjdoctor.com (“Defendants’ Website”) which provides online medical
27 marijuana evaluations in California and across the US.
28         22.   On information and belief, Defendants have the right and ability to

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 1 supervise and control the content that is placed on Defendants’ Website, and also
 2 derive a financial benefit from Defendants’ Website.
 3          23.   On or about June 3, 2017, AFP discovered that its Image was being
 4 used on Defendants’ Website.
 5          24.   Attached hereto as Exhibit B are true and correct screenshots of the
 6 Image being used on Defendants’ Website.
 7          25.   AFP did not have record of Defendants’ purchasing a license to use the
 8 Image nor did AFP grant permission for the Image to be used on Defendants’
 9 Website.
                                FIRST CAUSE OF ACTION
10                             COPYRIGHT INFRINGEMENT
                                   17 U.S.C. § 101 et seq.
11
            26.   Plaintiff incorporates by reference all of the above paragraphs of this
12
     Complaint as though fully stated herein. Plaintiff did not consent to, authorize,
13
     permit, or allow in any manner the said use of Plaintiff’s unique and original Image
14
     on Defendants’ Website.
15
            27.   Plaintiff is informed and believes and thereon alleges that the
16
     Defendant infringed upon Plaintiff’s copyrighted Image in violation of Title 17 of the
17
     U.S. Code, in that it used, published, communicated, benefited through, posted,
18
     publicized, and otherwise held out to the public for commercial benefit, the original
19
     and unique Image of the Plaintiff without Plaintiff’s consent or authority, and
20
     acquired monetary gain and market benefit as a result.
21
            28.   Specifically, Defendant made an unauthorized copy and then publically
22
     displayed the Image on Defendants’ Website.
23
            29.   As a result of Defendants’ violations of Title 17 of the U.S. Code,
24
     Plaintiff is entitled to any actual damages pursuant to 17 U.S.C. §504(b), or statutory
25
     damages in an amount up to $150,000.00 if willful or up to $30,000 if unintentional
26
     pursuant to 17 U.S.C. § 504(c).
27
            30.   Plaintiff is also entitled to injunctive relief to prevent or restrain
28
     infringement of his copyright pursuant to 17 U.S.C. § 502.
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 1                                PRAYER FOR RELIEF
 2 WHEREFORE, Plaintiff prays for judgment against Defendants as follows:
 3 •       For actual damages pursuant to 17 U.S.C. §504(b), or statutory damages in an
 4 amount up to $150,000.00 if willful or up to $30,000 if unintentional pursuant to 17
 5 U.S.C. § 504(c).
 6 •       For costs of litigation and reasonable attorney’s fees against each Defendant
 7 pursuant to 17 U.S.C. § 505;
 8 •       For an injunction preventing each Defendant from further infringement of all
 9 copyrighted works of the Plaintiff pursuant to 17 U.S.C. § 502; and
10 •       For any other relief the Court deems just and proper.
11 Dated: April 30, 2019                          Respectfully submitted,
12                                                /s/ Mathew K. Higbee
                                                  Mathew K. Higbee, Esq.
13                                                Cal. Bar No. 241380
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 1                          DEMAND FOR BENCH TRIAL
 2        Plaintiff AFP hereby demands a bench trial in the above matter.
 3
 4 Dated: April 30, 2019                         Respectfully submitted,
 5                                               /s/ Mathew K. Higbee
                                                 Mathew K. Higbee, Esq.
 6                                               Cal. Bar No. 241380
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